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5

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7                      IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )           CASE NO. 2:10-cr-211 GEB KJN
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )           JOINT REQUEST TO EXTEND SELF-
                                   )           SURRENDER DATE AND ORDER
13   ANJENETTE BROWN,              )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16

17        The United States of American and Anjenette Brown jointly
18   request that the defendant’s current self-surrender date be
19   extended until February 25, 2013.       On October 24, 2012, the Court
20   resentenced the defendant to a probationary term with a two month
21   sentence of intermittent confinement to be completed as a term of
22   that probation.    The Court ordered the defendant to self-
23   surrender on November 30, 2012.
24        The United States has filed a notice of appeal regarding the
25   defendant’s sentence, and the appeal is set to be argued before
26   Judge Burrell on January 25, 2013.       In light of that appeal, the
27   parties jointly request that the Court extend the defendant’s
28   self-surrender date to February 25, 2013.        The requested

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1    extension will allow the appeal to be fully litigated and ensure
2    that the defendant does not begin serving a custodial sentence
3    until the case is resolved.
4

5                                            Respectfully Submitted,
6                                            BENJAMIN B. WAGNER
                                             United States Attorney
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8
     DATE: November 28, 2012           By:   /s/ Jared Dolan
9                                            JARED C. DOLAN
                                             Assistant U.S. Attorney
10

11   DATE: November 28, 2012                 /s/ Jared Dolan for
                                             MICHAEL BIGELOW
12                                           Attorney for ANJENETTE BROWN
13
                                             SO ORDERED.
14

15   DATE: November 28, 2012
16

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                                       ___________________________________
19                                     KENDALL J. NEWMAN
                                       UNITED STATES MAGISTRATE JUDGE
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